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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

TRUSTEES OF THE NATIONAL AUTOMATIC
SPRINKLER INDUSTRY WELFARE FUND,
TRUSTEES OF THE NATIONAL AUTOMATIC
SPRINKLER LOCAL 669 UA EDUCATION FUND,
TRUSTEES OF THE NATIONAL AUTOMATIC
SPRINKLER INDUSTRY PENSION FUND, TRUSTEES
OF THE SPRINKLER INDUSTRY SUPPLEMENTAL
PENSION FUND, TRUSTEES OF THE
INTERNATIONAL TRAINING FUND, ROAD
SPRINKLER FITTERS LOCAL UNION 669 WORK
ASSESSMENTS, EXTENDED BENEFIT FUND AND
INDUSTRY ADVANCEMENT FUND

8000 Corporate Drive

Landover, MD 20785,

Plaintiffs,

VS. Civil Action No.:
ALLIED FIRE PROTECTION INC.
11 East Fisk Avenue

Springfield, MA 01107-1056

Serve: David J. Brosseau, President
11 East Fisk Avenue
Springfield, MA 01107-1056

and

DAVID J. BROSSEAU
165 Woodbrook Terrace
West Springfield, MA 01085

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Serve: David J. Brosseau )
165 Woodbrook Terrace )
West Springfield, MA 01085 )
)
)

and
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KRISTAN M. BROSSEAU )
165 Woodbrook Terrace )
West Springfield, MA 01085 )
)
Serve: Kristan M. Brosseau )
165 Woodbrook Terrace )
West Springfield, MA 01085 )
)
)
Defendant. )

COMPLAINT

(FOR BREACH OF COLLECTIVE BARGAINING AGREEMENT AND
TO COLLECT CONTRIBUTIONS DUE TO PLAINTIFF FUNDS)

Jurisdiction

1. This Court has jurisdiction of this action under Sections 502 and 515 of the
Employee Retirement Income Security Act, (hereafter "ERISA"), 29 U.S.C. §§ 1132 and 1145, and
under Section 301 of the Labor-Management Relations Act, 29 U.S.C. § 185(a). This is an action
for breach of a Collective Bargaining Agreement between an employer and a labor organization
representing employees in an industry affecting commerce and an action to collect contributions
due to employee benefit plans under the terms of the Collective Bargaining Agreement.

Parties

2. Plaintiffs National Automatic Sprinkler Industry Welfare Fund, National
Automatic Sprinkler Local 669 UA Education Fund, National Automatic Sprinkler Industry
Pension Fund, Sprinkler Industry Supplemental Pension Fund, the International Training Fund
and Road Sprinkler Fitters Local Union 669 Work Assessments, Extended Benefit Fund and
Industry Advancement Fund (hereinafter "NASI Funds") are multiemployer employee benefit plans
as that term is defined in Section 3(3) of the ERISA of 1974, 29 U.S.C. § 1002(3). Plaintiff Funds

are established and maintained according to the provisions of the Restated Agreements and
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Declarations of Trust establishing the NASI Funds (hereinafter “Trust Agreements”) and the
Collective Bargaining Agreement between Road Sprinkler Fitters Local Union No. 669 (hereinafter
referred to as “the union”) and the Defendant. The NASI Funds are administered at 8000 Corporate
Drive, Landover, Maryland 20785.

3. Defendant Allied Fire Protection Inc. (hereinafter “Allied”’) is a corporation existing
under the laws of the State of Massachusetts with offices located in Massachusetts. Defendant
transacts business in the State of Massachusetts as a contractor or subcontractor in the sprinkler
industry and all times herein was an "employer in an industry affecting commerce" as defined in
Sections 501(1), (3), 2(2) of the Labor-Management Relations Act, 29 U.S.C. Sections 142(1), (3)
and 152(2); Section 3(5), (9), (11), (12), (14) of ERISA, 29 U.S.C. Sections 1002(5), (9), (11), (12),
(14); and Section 3 of the Multi-Employer Pension Plan Amendments of 1980, 29 U.S.C.
§ 1001(a).

4. Defendant David J. Brosseau is the President of the Defendant Allied and is a

resident of the state of Massachussetts.

5. Defendant Kristan M. Brosseau is a resident of the state of Massachusetts.
Jurisdiction
6. This Court has jurisdiction of this action under Sections 502 and 515 of the

Employee Retirement Income Security Act, 29 U.S.C. §§ 1132 and 1145, and under Section 301
of the Labor-Management Relations Act, 29 U.S.C. § 185(a). This is an action for breach of a
Collective Bargaining Agreement between an employer and a labor organization representing
employees in an industry affecting commerce and an action to collect contributions due to
employee benefit plans under the terms of the Collective Bargaining Agreement and an action for

breach of a Settlement Agreement and Promissory Note.
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COUNT I

ths Defendant Allied is signatory to a Collective Bargaining Agreement with Road
Sprinkler Fitters Local Union No. 669 (hereinafter referred to as “the union’) requiring
contributions to the NASI Funds for each hour of work by employees performing installation of
automatic sprinkler systems.

8. Defendant Allied is bound to the Trust Agreements and to the Guidelines for
Participation in the NASI Funds (hereinafter “Guidelines”).

9. Defendant Allied employed certain employees covered by the Collective
Bargaining Agreement during the period of November 2017 through the present.

10. The Defendant Allied experienced substantial difficulty in making the required
benefit contributions owed to the NASI Funds. In response to these difficulties, the NASI Funds
and said Defendant entered into a Settlement Agreement and Promissory Note (hereinafter
"settlement documents" attached hereto as Exhibit A) allowing for a systematic payment over time
of all amounts owed to the NASI Funds. These settlement documents required, inter alia, the
payment of the principal amount of $71,340.47 by said Defendant to the NASI Funds in monthly
installment payments over a period of eighteen (18) months. The settlement documents further
provided that the Defendant Allied remain current in all future contributions to the NASI Funds
for the duration of the settlement and file all monthly report forms and payments on time as
required by the Funds' Trust Agreements. Liquidated damages in the amount of $56,822.77 were
waived contingent upon the Defendant Allied making each and every one of the scheduled
payments as they became due under this Agreement and contingent upon the Defendant remaining
current in its monthly contributions for the duration of the settlement.

11. Defendants David J. Brosseau and Kristan M. Brosseau (hereinafter collectively
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referred to as “the personal guarantors”’) personally executed these settlement documents pursuant to
which they committed themselves to act as guarantors for all amounts owed by the Defendant Allied
to the NASI Funds inclusive of future monthly contributions owed to the NASI Funds for the
duration of the settlement.

12. The Defendant Allied defaulted on the terms of the settlement documents by failing
to pay contributions owed to the NASI Funds for the months of November 2019 through January
2020 and by failing to make any of the monthly settlement payment dues under the terms of the
settlement documents. Pursuant to the terms of the settlement documents, Defendant Allied is in
default and the amount of $101,303.61 for contributions and reinstated liquidated damages currently
owed under the settlement documents is immediately due and payable to the NASI Funds.

13. Defendant Allied has failed to make contributions due to Plaintiff Funds on behalf
of its employees for the months of November 2019 through January 2020. In addition, Defendant
has failed to submit report forms for these months. Pursuant to the terms of the Collective
Bargaining Agreement, Defendant is obligated to submit report forms and pay contributions owed
to Plaintiff Funds.

14. Pursuant to Article VI, Section 6 of the Restated Agreements and Declarations of
Trust establishing the NASI Funds, when an employer fails to file the properly completed report
forms, in order to determine the amounts due, the Funds are authorized to project the delinquency

amount using the following formula:

... The Trustees may project as the amount of the delinquency the greater
of (a) the average of the monthly payments or reports submitted by the
Employer for the last three (3) months for which payments or reports were
submitted, or (b) the average of the monthly payments or reports submitted
by the Employer for the last twelve (12) months for which payments or
reports were submitted ...
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15. | Using report forms submitted for the last three (3) months for which reports were
submitted, the projected delinquency for the months of November 2019 through January 2020 is

$67,360.79 calculated as follows:

Month Welfare Education Pension SIS ITF EBP Work Ind
Ass’t Adv

Aug. 2019 $6,212.40 $294.00 $4,620.00 $5,544.00 $70.00 $155.00 $1,707.57 $328.60
Sept. 2019 $7,555.08 $350.28 $5,504.40 $6,605.28 $83.40 $399.62 $1,399.62 $399.62
Oct. 2019 $8,927.82 $407.82 $6,408.60 $7,690.32 $97.10 $222.75 $1,905.28 $472.23

Monthly
Average: $7,565.10 $350.70 $5,511.00 $6,613.20 $83.50 $259.12 $1,670.82 $400.15

16. Defendant Allied’s contributions owed on behalf of its sprinkler fitter employees
for the months November 2019 through January 2020 are late.

17. Pursuant to the Trust Agreements and the Guidelines for Participation in the NASI
Funds, an employer who fails to pay the amounts required by the Collective Bargaining Agreement
on time shall be obligated to pay liquidated damages as follows:

(1) If payment is not received in the Funds Office by the 15"
of the month, 10% of the amount is assessed.

(2) An additional 5% is added if payment is not received in the
Funds Office by the last working day of the month in which
payment was due.
(3) An additional 5% is added if payment is not received by the
15th of the month following the month in which payment was
due.
18. Pursuant to this provision, Defendant Allied is obligated to Plaintiff Funds in the
amount of $10,061.75 in liquidated damages assessed on the late contributions for the months of

November 2019 through January 2020, plus interest from the date of delinquency through the date of

payment at the rate provided in 29 U.S.C. Section 1132(g), the Trust Agreements and the

Guidelines.
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19. Pursuant to the terms of the settlement documents, the Defendants are jointly and
severally liable for all amounts owed by the Defendant Allied to the NASI Funds. Accordingly, the
Defendants Allied and the personal guarantors are liable to the NASI Funds for the sum of
$177,515.03, plus costs, interest and attorneys’ fees.

WHEREFORE, in Count I, Plaintiff Funds pray for judgment against the Defendants
Allied Fire Protection, Inc., David J. Brosseau and Kristan M. Brosseau, jointly and severally, as

follows:

A. In the amount of $101,303.61 as currently owed under the terms of the settlement
documents.

B. In the amount of $67,360.79 for contributions due for work performed during the
months of November 2019 through January 2020, plus costs, interest, and reasonable attorneys' fees
pursuant to 29 U.S.C. § 1132(g), the Trust Agreements and the Guidelines.

Cc, In the amount of $10,061.75 in liquidated damages assessed on the late
contributions for the months of November 2019 through January 2020, plus costs, interest, and
reasonable attorneys’ fees pursuant to 29 U.S.C. § 1132(g), the Trust Agreements and the Guidelines.

D. For all contributions and liquidated damages which become due subsequent to the
filing of this action through the date of judgment, plus costs, interest, and reasonable attorneys' fees,

pursuant to 29 U.S.C. § 1132(g), the Trust Agreements and the Guidelines.
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E, For such further relief as the Court may deem appropriate.

Respectfully submitted,

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Suite 800

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cgillizan(@odonoghuelaw.com

/s/
Charles W. Gilligan
Maryland Bar No. 05682
Attorneys for Plaintiffs
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CERTIFICATE OF SERVICE

This is to certify that a copy of the foregoing Complaint has been served by certified mail,
as required by 502(h) of the Employee Retirement Income Security Act of 1974, 29 U.S.C. §
1132(h) this 3rd day of March, 2020 on the following:

The Office of Division Counsel

Associate Chief Counsel (TE/GE) CC: TEGE
Room 4300

1111 Constitution Avenue

Washington, DC 20224

Attention: Employee Plans

Secretary of Labor

200 Constitution Avenue, N.W.

Washington, DC 20210

ATTENTION: Assistant Solicitor for
Plan Benefits Security

/s/
Charles W. Gilligan

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